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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

  UNITED STATES OF AMERICA                              3:21-cr-00162-SI

                 v.                                     BILL OF PARTICULARS FOR
                                                        FORFEITURE OF PROPERTY
  SAMUEL ROBERT JOYNER,

                 Defendant.


       The United States of America hereby files the following Bill of Particulars for Forfeiture

of Property.

       The United States gives notice that in the forfeiture allegation of the Indictment, the

United States is seeking forfeiture of the following property:

       One silver Macbook Air laptop, serial number C02JQEGYDRVC; and

       One gray Macbook Pro laptop, serial number C02TQ04QGTF1.


DATED: June 2, 2021.                                 Respectfully submitted,

                                                     SCOTT ERIK ASPHAUG
                                                     Acting United States Attorney

                                                     /s/ Quinn P. Harrington
                                                     QUINN P. HARRINGTON, OSB#083544
                                                     Assistant United States Attorney

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